Case: 7:21-cv-00044-REW Doc #: 23 Filed: 07/08/22 Page: 1 of 1 - Page ID#: 1206




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                    PIKEVILLE

    MELINA WILEY                                   )
                                                   )
           Plaintiff,                              )             No. 7:21-CV-44-REW
                                                   )
    v.                                             )
                                                   )                  JUDGMENT
    KILOLO KIJAKAZI, Acting Commissioner           )
    of Social Security,                            )
                                                   )
           Defendant.                              )

                                    *** *** *** ***

         Consistent with the Opinion & Order entered today, and pursuant to Federal Rule

  of Civil Procedure 58 and sentence four of 42 U.S.C. § 405(g), the Court:

         (1)    AFFIRMS the Agency’s decision; and

         (2)    STRIKES this matter from the Court’s active docket.

         This the 8th day of July, 2022.
